                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:16CR47-1-RLV


UNITED STATES OF AMERICA                         )
               Plaintiff,                        )
                                                 )
                  vs.                            )
                                                 )
                                                 )      ORDER
                                                 )
TROY LYNN BELL,                                  )
                           Defendant.            )
                                                 )

       THIS MATTER is before the Court on its own motion to continue the captioned
criminal matter from the September 12, 2016, criminal term in the Statesville Division.
       The Court finds that the Defendants' cases are "joined for trial with a co-defendant
as to whom the time for trial has not run and no motion for severance has been granted,"
18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends
of justice served by taking such action outweigh the best interest of the public and the
Defendants to a speedy trial.
       IT IS, THEREFORE, ORDERED that this case is hereby continued from the
September 2016, criminal term in the Statesville Division to the, October 31, 2016,
criminal term in the Statesville Division.




 Signed: August 25, 2016




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